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a. USAO 2019R00274

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * CRIMINAL NO. PLdb& IACRYHOR
KATRIN VERCLAS, * (Wire Fraud, 18 U.S.C. § 1343;
* Forfeiture, 18 U.S.C. § 981(a)(1)(C),
Defendant * 21 U.S.C. § 853, 28 U.S.C. § 2461(c))

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INDICTMENT

COUNTS ONE THROUGH NINE
(Wire Fraud)

The Grand Jury for the District of Maryland charges that:

Introduction : 53

At all times relevant to this Indictment:

The Defendant and MobileActive

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LL. The defendant, KATRIN VERCLAS (“VERCLAS”), resided in Massachusett
or in New York until in or about August 2012, when VERCLAS began residing in Washington,
D.C.

os Since at least in or about 1996 through at least in or about 2008, VERCLAS
worked for nonprofit organizations, including Company A, rising to the rank of executive
director. In her capacity as executive director of Company A, VERCLAS was responsible for
setting up internal metrics and outcome tracking systems, and improving accounting and

budgeting systems.
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5. In or about June 2008, VERCLAS obtained control of MobileActive from
Company B, a nonprofit organization. While under the direction of Company B, MobileActive
operated as a network for social activism using mobile phone technology.

4. VERCLAS operated MobileActive as a for-profit business between in or about
2009 and in or about 2012.

The State Department and Grant 613

5 The U.S. Department of State (“State Department”) was a cabinet-level agency
within the executive branch of the U.S. Government. The Bureau of Democracy, Human Rights,
and Labor (“DRL”) was a bureau within the State Department. For fiscal years 2009 and 2010,
Congress appropriated money to DRL under the category Democracy Fund/Human Rights and
Democracy Fund/Global Internet Freedom (“Internet Freedom”).

6. DRL was authorized to obligate Internet Freedom funds by making grants.
Another bureau within the State Department—the Bureau of Administration, Logistics
Management, Office of Acquisitions Management, International Programs—provided DRL with
administrative assistance and financial oversight.

7. On or about December 17, 2009, DRL issued a public notice in the form of a
Request for Proposal (“RFP”) that solicited grant proposals under the title “Promoting Freedom
of Expression and the Free Flow of Information through Technology and Access.” The goal of
the RFP was to identify grant recipients dedicated to the support and promotion of global internet
freedom through the development of innovative technologies. The RFP stated that DRL

anticipated making two to four grants in amounts of $1 million to $4 million.
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8. The RFP required, among other things, that an applicant be a U.S. nonprofit
organization pursuant to 26 U.S.C. § 501(c)(3), a comparable organization headquartered
internationally, an international organization, or a university.

9. On or about January 22, 2010, VERCLAS, on behalf of MobileActive, submitted
a grant proposal (“the Application”) in response to the State Department’s December 2009 RFP.

10. On or about September 20, 2010, the State Department awarded S-LMAQM-10-
GR-613 (“Grant 613”) to MobileActive in the amount of approximately $1.231 million. Under
Grant 613, MobileActive promised, among other things, to develop and promote software
applications for secure mobile communication. MobileActive also promised to develop and
promote resources that would allow human rights organizations and activists in specified
geographic areas to assess and mitigate risks associated with their mobile communications.

The Scheme to Defraud

iy. Between at least in or about August 2009 and continuing until in or about

September 2013, in the District of Maryland and elsewhere, the defendant,
KATRIN VERCLAS
knowingly and willfully devised and intended to devise a scheme and artifice to defraud the State
Department, and to obtain money and property from the State Department by means of
materially false and fraudulent pretenses, representations, promises, and material omissions, with
the intent to defraud and knowledge of the scheme’s fraudulent nature (“scheme to defraud”).
Manner and Means of the Scheme to Defraud
It was part of the scheme to defraud that:
12. In or about the summer and fall of 2009, VERCLAS approached Persons 1, 2,

and 3 to serve on a purported board of directors for MobileActive. Persons 1, 2, and 3 agreed to
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help VERCLAS, and provided her with certain personal information, including their dates of
birth and social security numbers. WERCLAS incorporated MobileActive in or about January
2010 in the State of Delaware without the knowledge of at least Persons | and 2.

13. On or about December 1, 2009, VERCLAS opened a sole proprietor, business
economy checking account (“the MobileActive bank account”) with Bank of America in
Amherst, Massachusetts.

14. On or about January 22, 2010, WERCLAS, on behalf of MobileActive, submitted
a grant proposal (“the Application”) in response to the State Department’s December 2009 RFP.
In the Application, VERCLAS certified to the truth and accuracy of the information contained
therein and acknowledged the potential for criminal penalties associated with making false
statements.

15. | VERCLAS made numerous false statements in the Application, including a
statement that MobileActive was a 501(c)(3) nonprofit organization.

16. VERCLAS caused the State Department to issue Grant 613 to MobileActive on
or about September 20, 2010, based on the false statements she provided in the Application and
subsequent pre-award amendments. The performance period of Grant 613 began on or about
September 20, 2010, and continued through on or about October 31, 2011. VERCLAS later
caused the State Department to extend the performance period until on or about September 30,
2012, based on her continued false representations.

17. On or about September 22, 2010, VERCLAS falsely certified on DS-1909,
“Federal Assistance Award,” that MobileActive would perform work as agreed under Grant 613,

and that MobileActive would adhere to certain terms, conditions, and regulations.
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18. On or about October 19, 2010, VERCLAS established an electronic account with
Payment Management System (“PMS”) operated by the U.S. Department of Health and Human
Services in Bethesda, Maryland, and provided the MobileActive bank account information to the
State Department and PMS. VERCLAS, under the username KVERCLAS, was the only PMS
account user associated with MobileActive. Under Grant 613, VERCLAS gained access to
MobileActive funds by electronically logging into her PMS account and making specific
requests for the release of funds.

19. Under U.S. Department of Treasury regulations, WERCLAS only could request
federal cash under Grant 613 through PMS to accommodate the immediate needs of
MobileActive. Further, WERCLAS was prohibited from holding federal cash in the
MobileActive bank account in excess of three working days. These regulations were intended to
ensure that federal cash would be drawn from the U.S. Treasury on behalf of MobileActive for
specific authorized uses.

20. VERCLAS made electronic requests for money through PMS, and received by
wire transfer approximately $1,222,000 into the MobileActive bank account between in or about
October 2010 and in or about August 2012. During this time period, WERCLAS caused the
transfer of over $450,000 from the MobileActive bank account to her personal bank accounts.

ZL. From the beginning of the performance period on or about September 20, 2010,
VERCLAS regularly diverted State Department money for her own personal use, and continued
this practice until the MobileActive bank account was drained of State Department money by in
or about October 2012.

22. MobileActive was required to electronically file truthful and accurate quarterly

financial reports with the State Department through PMS in order to account for MobileActive’s
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proper use of federal funds. WERCLAS knowingly filed financial reports that contained
materially false and misleading statements. In filing the requisite financial reports electronically
through PMS, VERCLAS certified each time that “the report is true, complete, and accurate, and
the expenditures, disbursements and cash receipts are for the purposes and intent set forth in the
award documents.” WERCLAS further certified that she was “aware that any false, fictitious, or
fraudulent information” may lead “to criminal, civil or administrative penalties.”

23. VERCLAS, under the auspices of MobileActive, failed to perform work in
connection with Grant 613 in a number of ways, and requested money through PMS to which
MobileActive was not entitled. For example:

a. WERCLAS discontinued the services of Company C, a software developer to
which Grant 613 specifically allocated $410,000, and terminated
MobileActive’s relationship with Company C in or about October 2011.
VERCLAS only paid Company C approximately $91,887.74. Yet the
Application identified $410,000 for Company C costs, and VERCLAS sought
approximately $410,000 through PMS for Company C’s work.

b. VWERCLAS did not contract for services with Company D, a software
developer to which Grant 613 specifically allocated $200,000. Company D
was paid no money and performed no work in connection with Grant 613.
Yet the Application identified $200,000 for Company D costs, and
VERCLAS sought approximately $2@0,000 through PMS for Company D’s

eS 2

24. In or about September or October 2011, WERCLAS sought an extension of the

work.

performance period for Grant 613 under the guise of needing more time to perform the promised
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work. Prior to that time, VERCLAS did not seek any amendments to Grant 613. Based on
VERCLAS’s materially false representations, the State Department granted the request,
extending the performance period until the end of September 2012 with the same terms,
conditions, and regulations that governed the initial performance period.

25. In or about late 2011, VERCLAS began terminating MobileActive personnel.

26. VERCLAS knew that she was required to electronically file “closeout reports” in
connection with Grant 613 through PMS. Closeout reports include, among other things, the final
financial report and program report. WERCLAS failed to file these closeout reports.

The Charges

On or about the dates listed below, in the District of Maryland and elsewhere, the

defendant,

KATRIN VERCLAS,
for the purpose of executing and attempting to execute the scheme to defraud, knowingly
transmitted and caused to be transmitted in interstate and foreign commerce, by means of a wire

communication, the following writings, signs, signals, pictures, and sounds:

 

Count Approx. Date Description

 

An electronic transmission of a request for $100,000
through PMS account KVERCLAS from a computer
outside of Maryland to a computer located in Bethesda,
Maryland.

1 10/26/2010

 

An electronic communication between a PMS computer
located in Bethesda, Maryland, and a Federal Reserve Bank
2 10/26/2010 server located in East Rutherford, New Jersey, concerning
the release of $100,000 into the MobileActive bank
account.

 

An electronic transmission of a financial report through
3 2/2/2011 PMS account KVERCLAS from a computer outside of
Maryland to a computer located in Bethesda, Maryland.

 

 

 

 

 
 

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4 7/21/2011

An electronic transmission of a request for $250,000
through PMS account KVERCLAS from a computer
outside of Maryland to a computer located in Bethesda,
Maryland.

 

5 7/26/2011

An electronic communication between a PMS computer
located in Bethesda, Maryland, and a Federal Reserve Bank
server located in East Rutherford, New Jersey, concerning
the release of $250,000 into the MobileActive bank

account.

 

6 3/15/2012

An electronic transmission of a request for $80,000 through
PMS account KVERCLAS from a computer outside of
Maryland to a computer in Bethesda, Maryland.

 

7 3/22/2012

An electronic communication between a PMS computer
located in Bethesda, Maryland, and a Federal Reserve Bank
server located in East Rutherford, New Jersey concerning
the release of $80,000 into the MobileActive bank account.

 

8 7/26/2012

An electronic transmission of a request for $80,000 through
PMS account KVERCLAS from a computer outside of
Maryland to a computer in Bethesda, Maryland.

 

9 8/8/2012

 

 

An electronic communication between a PMS computer
located in Bethesda, Maryland, and a Federal Reserve Bank
server located in East Rutherford, New Jersey concerning
the release of $80,000 into the MobileActive bank account.

 

18 U.S.C. § 1343

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

i, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant

that, in the event of the defendant’s conviction(s) under Counts One through Nine of this

Indictment, the United States will seek forfeiture as part of any sentence in accordance with 18

U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c),.

2. Upon conviction of the offenses set forth in Counts One through Nine, the

defendant,

 
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KATRIN VERCLAS,
shall forfeit to the United States of America any and all property, real or personal, which
constitutes or is derived from proceeds traceable to such violation. The property to be forfeited
includes, but is not limited to, a sum of money equal to $1,222,000 in United States currency.
Substitute Assets
3. If, as a result of any act or omission of the defendant, any of the property

described above:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be subdivided without

difficulty,

it is the intent of the United States of America, to seek forfeiture of any other property of said

defendant up to the value of the forfeitable property.

18 U.S.C. § 981(a)(1)(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

PP

Robert K. Hur
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED Date: August 21, 2019

iT
Foreperson

 
